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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 16-0428V
                                   Filed: September 9, 2016
                                          Unpublished

****************************
MARSHA CRAWFORD,                           *
                                           *
                     Petitioner,           *     Damages Decision Based on Proffer;
v.                                         *     Pneumococcal Conjugate Vaccine;
                                           *     Prevnar 13; Shoulder Injury Related
SECRETARY OF HEALTH                        *     to Vaccine Administration (“SIRVA”);
AND HUMAN SERVICES,                        *     Special Processing Unit (“SPU”)
                                           *
                     Respondent.           *
                                           *
****************************
Maximillian J. Muller, Muller Brazil, LLP, Dresher, PA, for petitioner.
Justine E. Walters, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES 1

Dorsey, Chief Special Master:

       On April 4, 2016, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the “Vaccine
Act” or “Program”). Petitioner alleged that she developed shoulder injuries as a result of
a pneumococcal conjugate (Prevnar 13) vaccination she received on April 16, 2015.
The case was assigned to the Special Processing Unit (“SPU”) of the Office of Special
Masters.

        On June 30, 2016, the undersigned issued a ruling on entitlement finding
petitioner entitled to compensation for a shoulder injury related to vaccine administration
(“SIRVA”). On September 9, 2016, respondent filed a proffer on award of compensation
(“Proffer”) indicating petitioner should be awarded $70,000.00. Proffer at 1. In the
Proffer, respondent represented that petitioner agrees with the proffered award. Based

1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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on the record as a whole, the undersigned finds that petitioner is entitled to an award as
stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $70,000.00 in the form of a check payable to
petitioner, Marsha Crawford. This amount represents compensation for all damages
that would be available under § 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.


                                                      2
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             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                        OFFICE OF SPECIAL MASTERS
____________________________________
                                     )
MARSHA CRAWFORD,                     )
                                     )
            Petitioner,              )
                                     )
v.                                   )  No. 16-428V
                                     )  Chief Special Master Dorsey
                                     )  ECF
SECRETARY OF HEALTH AND              )  SPU
HUMAN SERVICES,                      )
                                     )
            Respondent.              )
____________________________________)

             RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On April 4, 2016, petitioner, Marsha Crawford, filed a petition for compensation under

the National Childhood Vaccine Injury Act, 42 U.S.C. §§ 300aa-1 to -34 (“Vaccine Act”),

alleging that she developed a left shoulder injury as a result of receiving a pneumococcal

conjugate (“Prevnar 13”) vaccine on April 16, 2015. On June 30, 2016, respondent filed her

Rule 4(c) Report stating that petitioner’s left shoulder injury is consistent with a shoulder injury

related to vaccine administration (“SIRVA”) and conceding that her SIRVA is compensable

under the Vaccine Act. Accordingly, the same day, Chief Special Master Dorsey issued a Ruling

on Entitlement finding that petitioner is entitled to compensation for her SIRVA.

I.     Items of Compensation

       Based upon the evidence of record, respondent proffers that petitioner should be awarded

$70,000.00, which represents all elements of compensation to which petitioner is entitled under

42 U.S.C. § 300aa-15(a). 1 Petitioner agrees.


1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future medical
expenses, future lost earnings, and future pain and suffering.
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II.    Form of the Award

       The parties recommend that the compensation provided to petitioner should be made

through a lump sum payment of $70,000.00 in the form of a check payable to petitioner.

Petitioner agrees.


                                           Respectfully submitted,

                                           BENJAMIN C. MIZER
                                           Principal Deputy Assistant Attorney General

                                           C. SALVATORE D’ALESSIO
                                           Acting Director
                                           Torts Branch, Civil Division

                                           CATHARINE E. REEVES
                                           Acting Deputy Director
                                           Torts Branch, Civil Division

                                           ANN D. MARTIN
                                           Senior Trial Attorney
                                           Torts Branch, Civil Division

                                            s/ Justine Walters__________
                                           JUSTINE WALTERS
                                           Trial Attorney
                                           Torts Branch, Civil Division
                                           U.S. Department of Justice
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                                           Tel: (202) 307-6393

DATE: September 9, 2016




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